Case: 1:17-md-02804-DAP Doc #: 1994-1 Filed: 07/25/19 1 of 2. PageID #: 261888




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION


                                                  )
                                                  )
                                                      MDL No. 2804
 IN RE: NATIONAL PRESCRIPTION                     )
 OPIATE LITIGATION                                )
                                                  )
                                                  )   Case No. 17-md-2804
                                                  )
 This document relates to:                        )
 Track One Cases                                  )
                                                  )   Hon. Dan Aaron Polster
                                                  )

                    ORDER AMENDING CIVIL JURY TRIAL ORDER

       To facilitate the exchange of jury questionnaires, deposition testimony, and exhibits

intended to be used as evidence at trial, Civil Jury Trial Order (Dkt. No. 1598) is amended to add

the following provisions:

           1. Section III(a)(1) (Jury Questionnaire Form) is amended as follows: All parties shall

meet, confer, reach agreement, and email to Special Master Cohen a proposed Jury Questionnaire

on August 14, 2019.

           2. Section III(b)(5) (Witnesses Lists and Exhibit Lists) is amended as follows: All

parties shall meet, confer, and agree upon an exhibit list form that includes the columns identified

in the Civil Jury Trial Order and email it to chambers for the Court’s review no later than 12:00

p.m. on August 14, 2019. All parties shall exchange proposed exhibit lists on August 28, 2019.

           3. Section III(b)(8) (Deposition Testimony) is amended as follows:            All parties

proposing to use deposition testimony as evidence at trial shall exchange affirmative designations

of the deposition testimony of witnesses unavailable to be called live during a party’s case-in-chief

on August 9, 2019.      All parties shall exchange responsive designations and objections to
Case: 1:17-md-02804-DAP Doc #: 1994-1 Filed: 07/25/19 2 of 2. PageID #: 261889




affirmative designations on September 6, 2019. In addition to their responsive designations a

party may make additional non-repetitive and non-responsive designations from the depositions

previously affirmatively designated during this period. On September 25, 2019, all parties shall

exchange FINAL counter designations and objections. The parties shall file with the Court

objections to proposed deposition testimony that cannot be resolved through the meet and confer

process on October 2, 2019. Final deposition testimony designations shall be filed with the Court

on October 10, 2019. Deposition testimony shall only be designated and filed for witnesses not

within the subpoena power of the Court pursuant to Fed. R. Civ. P. 45(c). The parties shall be

permitted to undertake designations of deposition testimony for witnesses who are discovered to

be unavailable after the deadlines set forth herein, upon reasonable notice to, and with an

opportunity for objections and counter-designations by, other parties.

       Except as provided herein, the requirements, restrictions, and procedures set forth in the

Civil Jury Trial Order shall remain in full force and effect.

       IT IS SO ORDERED.


Dated:_____________________                                     ______________________________
                                                                Honorable Dan Aaron Polster
                                                                United States District Judge
